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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


ERICSSON INC., AND
TELEFONAKTIEBOLAGET LM ERICSSON,
                                            Civil Action No. 2:15-cv-00011-RSP
          Plaintiffs,

     v.
                                            JURY TRIAL
TCL COMMUNICATION TECHNOLOGY
HOLDINGS, LTD., TCT MOBILE LIMITED,
AND TCT MOBILE (US), INC.,

          Defendants.


ERICSSON’S SUR-REPLY REGARDING DEFENDANTS’ MOTION FOR NEW TRIAL
                   PURSUANT TO FED. R. CIV. P. 59 (a)
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I.       THE JURY’S AWARD DID NOT INCLUDE UNACCUSED PRODUCTS

         After TCL prevailed on its requested jury instruction, in closing arguments, Ericsson told

the jury in no uncertain terms that it requested only damages for accused products, and that it

was limiting damages for future sales through the first quarter of 2020. 12/7 Trial Tr. at 67:24-

68:9. TCL selectively quotes Ericsson’s closing argument reference to damages going “out three

years,” while ignoring the statements that immediately followed telling the jury that Ericsson’s

$125 million ask includes only “products that are out on the market” and “stop[s] at 2020, the

first quarter.” Id. As explained in Ericsson’s opposition, TCL’s own expert similarly projected

sales of accused products through the first quarter of 2020, the Court expressly instructed the

jury to award damages for only future sales of accused products, and counsel for both parties

repeatedly emphasized during closing arguments that any damages award should only include

sales of accused products sold through the first quarter of 2020. Dkt. 443 at 1-3.1

          Further, TCL waived its right to request a new trial. TCL now complains that Ericsson’s

statements in closing argument that it was (1) seeking $125 million based on infringement

“going out three years,” and (2) giving TCL a “free” license from 2020-2024, justify a new trial,

but TCL did not object at the time these statements were made, nor did it seek a mistrial before

submitting the case to the jury. Despite TCL’s suggestion to the contrary, it never filed a

Daubert on either issue, and TCL fails to even address Nissho, which required TCL to choose

one of three options if it believed Ericsson’s arguments were improper: (1) object when the

statements were made; (2) seek a mistrial before submitting the case to the jury; or (3) roll the

dice with the jury. Nissho-Iwai Co. v. Occidental Crude Sales, Inc., 848 F.2d 613, 619 (5th Cir.


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  TCL’s suggestion that the parties had a stipulation to not seek damages for products released after June 16, 2017 is
not true. The parties agreed that a judgment for damages “through the time of trial” would not extinguish claims for
infringement as to those products. Dkt. 308 ¶ 3. This stipulation was never intended to preclude Ericsson from
seeking an alternative lump sum damages judgment through the life of the patent.


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1988) (“Nissho chose to submit the case to the jury. Not until its strategy failed did Nissho

register its first complaint about Occidental’s closing argument. Nissho is now barred ‘from

urging the improper arguments as grounds for a new trial after the jury has returned its verdict”).

TCL chose to take its chances with the jury verdict. Buyer’s remorse is not a remedy for waiver.

II.    ERICSSON’S DAMAGES MODEL WAS NOT PREJUDICIAL

       TCL chose to resolve its complaints with regard to Ericsson’s $245 million lump sum

damages model with a very specific jury instruction. 12/7 Trial Tr. at 25:21-26:4. TCL obtained

this instruction over Ericsson’s objection and made the strategic choice to submit this case to the

jury. If TCL believed that Ericsson’s $245 million damages calculation was inherently

prejudicial, it was obligated to request a mistrial before this case was submitted to the jury.

Nissho, 848 F.2d at 619. Presumably, TCL was satisfied that the jury instruction was sufficient to

remedy any alleged prejudice. Now that TCL’s strategic choice did not pan out, TCL cannot

change course and seek a mistrial.

       Regarding Uniloc, TCL fails to address the obvious difference between the inflammatory

$19 billion irrelevant revenue figure presented to the jury in Uniloc, and Ericsson’s lump sum

projections through 2024 ($245 million) rather than 2020 ($125 million). The Court instructed

the jury on this exact issue and the jury is presumed to have followed the Court’s instruction.

Wellogix inc. v. Accenture, LLP, 716 F.3d 867, 876 (5th Cir. 2013). TCL provides no reasoned

basis for assuming the jury did not do so here.

III.   ERICSSON DID NOT PRESENT ANY PREJUDICIAL OR MISLEADING
       ARGUMENT TO THE JURY

       TCL cannot deny that (1) it uses two types of accounting to calculate profit, (2) its expert

chose to use the more favorable accounting metric to present a low profit figure to the jury, and

(3) the accounting method TCL selected includes an accrual for unpaid patent royalties due to



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Ericsson and others. 12/05 PM Trial Tr. at 63:1-64:11. Given this, it is hard to understand how

TCL believes the testimony on this topic was false or unfairly prejudicial, especially when it was

elicited by a question from TCL’s own attorney. TCL seems to be focused on Ericsson’s use

during redirect examination of the colloquial expression that the two accounting methods were

“two sets of books,” but Ericsson’s statement was entirely accurate in the context of TCL’s

accounting practices, as evidenced by Mr. Mills’ testimony and TCL’s failure to present any

testimony to the contrary.

       None of the testimony that TCL cited from the CDCA action (Dkt. 429-3 ¶ 281, 286,

287) supports TCL’s contention that TCL’s IPR reserve is exclusively for standard essential

patents. But regardless, TCL entirely misses the point. Ericsson never said at trial that the

reserve was for this particular patent; rather, Ericsson showed the jury that TCL was

misrepresenting its profits because it was accruing an unpaid cash reserve for patent royalties

that TCL is not actually paying anyone. 12/5 PM Trial Tr. at 63:1-64:19.

       Finally, Ericsson never made any pejorative statements about the nationality of TCL’s

executives. Simply referencing a party’s nationality is not pejorative, as evidenced by the fact

that TCL’s counsel used the phrases “Chinese companies” or “Chinese executives” at least

eleven times during voir dire. 12/4 AM Trial Tr. at 68:18-71:16. In fact, the parties specifically

agreed they would be permitted to do so. TCL originally proposed a motion in limine precluding

“evidence or argument relating to the geographic location of any party or nationality of any

witness.” Ex. 1 (Oct. 20, 2017 email from B. Cangro to N. Mathews). During the meet and

confer process, the parties agreed to a modified version of this motion in limine as follows:

“Cannot use pejorative language to describe a party or witnesses nationality or country or origin.

Parties may refer factually to where particular witnesses or entities are located.” Ex. 2 (Oct. 20,




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2017 email from N. Mathews to B. Cangro). The parties memorialized this agreement in an

agreed motion in limine precluding “pejorative” references to the nationality of any party. Dkt.

No. 377.

       TCL’s cited cases are inapposite. In Commil, counsel made repeated anti-Semitic

references about a party to the lawsuit. Commil USA, LLC. v. Cisco Sys. Inc., 2:07-cv-00341-

JRG, 2010 WL 11484496, at *2 (E.D. Tex. Dec. 29, 2010). In Whitehead, counsel repeatedly

vilified the defendant in various manners and ignored the district court’s instructions to the

contrary, going so far as to speculate that the victim’s last thought before her death would be her

rape. Whitehead v. Food Max of Mississippi Inc., 163 F.3d 265, 277 (5th Cir. 1998). Finally, in

Hall, the court’s decision to grant a new trial was expressly not based solely on the inappropriate

conduct of counsel, which included statements that the witness “flouted respect for marriage

vows,” “had used illegal drugs,” and “was trying to take advantage of the good people of rural

northern Mississippi,” but rather on the fact that the damages award was inadequate to

compensate for injuries for which there was uncontroverted evidence. Hall v. Freese, 735 F.2d

956, 958, 961-62 (5th Cir 1984).

IV.    THE SAMSUNG PAYMENTS WERE HIGHLY RELEVANT TO REBUTTING
       TCL’S DAMAGES THEORIES

       TCL’s damages model was based on an unaccepted offer Ericsson made to Samsung for a

license to Ericsson’s implementation patent portfolio, in the context of broader negotiations

involving a cross-license to both Ericsson’s and Samsung’s entire patent portfolios. 12/6 AM

Trial Tr. at 140:4-9. Those negotiations eventually resulted in a cross-license involving a large

cash payment to Ericsson. 12/5 PM Sealed Trial Tr. at 2:21-3:1. The Court should deny TCL’s

motion because it was TCL that put the amount of the Samsung license at issue by basing its

damages model on Ericsson’s offer made in the midst of those negotiations. This was addressed



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at the motion in limine stage, and the Court expressly ruled that TCL’s reference to the

negotiation offer made the financial and business terms of the final Samsung agreement relevant.

Ericsson complied with the letter and spirit of the Court’s ruling.

V.     CONCLUSION

       For the foregoing reasons, the Court should deny TCL’s Motion for a New Trial.




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Dated: February 7, 2018                  MCKOOL SMITH, P.C.

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record via the Court’s ECF system on February 7, 2018.

                                                   /s/ Nicholas M. Mathews
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